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                 In The United States District Court
                 For The District of Columbia District
------------------------------------------------------------X
UNITED STATES OF AMERICA,

                                                                 Criminal 21-CR-52 (CJN)

                            - against -                          NOTICE OF MOTION


DOMINIC PEZZOLA,
                                 Defendant.
-------------------------------------------------------------X

       Please Take Notice that the above-named Defendant, DOMINICK
PEZZOLA, will bring a motion seeking to have the hearing scheduled for September
14, 2021, to re-open/reconsider bond, to a later date with the consent of the
Government before this Court on a date and time, between September 21-23, 2021, as
outlined in the attached affirmation or such later dated provided by the Court later.


 Dated: New York, New York
        September 13, 2021
                                                Respectfully Submitted,

                                                /s/ Martin H. Tankleff
                                                __________________________
                                                MARTIN H. TANKLEFF, ESQ.
                                                Steven A. Metcalf, Esq.
                                                Attorneys for Dominic Pezzola
                                                Metcalf & Metcalf, P.C.
                                                99 Park Avenue, 6thth Flr.
                                                New York, NY 10016
                                                (Office) 646.253.0514 / (Fax) 646.219.2012
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                                                   /s/ Steven A. Metcalf II, Esq.
                                                   _________________________
                                                   STEVEN A. METCALF II, ESQ.
                                                   Metcalf & Metcalf, P.C.
                                                   Attorneys for Pezzola
                                                   99 Park Avenue, 25th Floor
                                                   New York, NY 10016
                                                   Phone 646.253.0514
                                                   Fax 646.219.2012
                                                   metcalflawnyc@gmail.com

TO: ERIK M. KENERSON (Erik.Kenerson@usdoj.gov)
    U.S. Attorney’s Office for the District of Columbia




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                  In The United States District Court
                  For The District of Columbia District
------------------------------------------------------------X
UNITED STATES OF AMERICA,

                                                                 Criminal 21-CR-52 (CJN)

                            - against -                          AFFIRMATION


DOMINIC PEZZOLA,
                                 Defendant.
-------------------------------------------------------------X

        I, Martin Tankleff, make the following under penalty of perjury:

        1. The Defendant, Dominic Pezzola, by and through his counsel, Steven

            Metcalf and Martin Tankleff, seek an adjournment of the hearing to re-

            open/grant bond scheduled for September 14, 2021.

        2. Counsel, Steven Metcalf, reached out to the Government on September 11,

            2021, seeking his consent to adjourn the hearing scheduled for September

            14.

        3. The Government, by and through, Erik Kenerson consented to the request

            for adjournment with some minor conditions about the rescheduling.

        4. Undersigned counsel sought to have the hearing in this matter rescheduled

            for September 21-23, 2021. The one caveat is that the Government has

            asked if the hearing was scheduled for Thursday, the 23rd, that it be held in

            the afternoon.

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       5. The reasons why we believe we are entitled to the relief we seek are set

           forth below:

               a. We sought and obtained the consent of the Government;

               b. Mr. Metcalf is currently in New York, and has in-person and/or

                   virtual appearances in New York State Courts and Federal Court in

                   the Southern District of New York and Eastern District of New York

                   scheduled for today, tomorrow and Wednesday 1;

               c. Mr. Metcalf’s wife, who is also his law partner, recently gave birth

                   to their third child;

               d. Undersigned counsel has a bond hearing scheduled for Monday

                   September 20, 2021, as such we will be in DC on that day;

               e. Undersigned counsel has some court pressing deadlines in State and

                   Federal Court that require immediate attention;

               f. That we seek a brief extension due to other matters, and certain

                   conflicts that prevent us from being able to appear in Washington,

                   DC and be sufficiently prepared to argue the two-pronged hearing

                   that the Court has scheduled;

1
  These include an-person sentencing in Federal Court in the EDNY, an in-person appearance today
in Brooklyn Criminal Court, a response to a direct appeal in the Appellate Division First Department
due on or before September 20, 2021, and several other matters.




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              g. No party will be prejudiced by the rescheduling and the rescheduling

                  will ensure and protect the rights of the defendant to ensure that

                  counsel is prepared to argue all of the issues that the Court is seeking

                  to hear arguments on;

              h. That counsel hasn’t received certain evidentiary material he needs

                  for the hearing.

       Wherefore, undersigned counsel, respectfully seeks a brief adjournment of the

hearing scheduled for September 14, 2021, to September 21-23, 2021, or a date/time

convenient for the Court and the parties and for such other and further relief as the

Court deems just and proper.

       I declare under penalty of perjury that the foregoing is true and correct, to the

best of my knowledge, information, and belief.



Dated: New York, New York
        September 13, 2021
                                            Respectfully Submitted,


                                            __________________________
                                            MARTIN H. TANKLEFF, ESQ.
                                            Steven A. Metcalf, Esq.
                                            Attorneys for Dominic Pezzola
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                            CERTIFICATE OF SERVICE

        We hereby certify that, on September 13, 2021, the forgoing document was
filed via the Court’s electronic filing system, and sent to the AUSA via email, which
constitutes service upon all counsel of record.


                                                   Respectfully Submitted,


                                                   _________________________
                                                   MARTIN H. TANKLEFF, ESQ.
                                                   Metcalf & Metcalf, P.C.
                                                   Attorneys for Pezzola
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                                                   Fax 646.219.2012
                                                   martytankleff@gmail.com

                                                   /s/ Steven A. Metcalf II, Esq.
                                                   _________________________
                                                   STEVEN A. METCALF II, ESQ.
                                                   Metcalf & Metcalf, P.C.
                                                   Attorneys for Pezzola
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